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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

- MARK I. SOKOLOW, et al.,

VS.

Plaintiffs,

THE PALESTINE LIBERATION

ORGANIZATION, ef a/,

Defendants.

No. 04 Civ. 00397 (GBD) (RLE)

PLEASE TAKE NOTICE that all plaintiffs in the above-referenced action hereby appeal

to the United States Court of Appeals for the Second Circuit from the Order of this Court

entered on August 24, 2015 staying execution of the judgment pending appeal. [DE 957] -

Dated: August? * 2015
New York, New York

Respectfully submitted,

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py. /? J Ket A. Tow+2_

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Attorneys for Plaintiffs
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UNITED STATES DISTRICT COURT iysDe SDNY
SOUTHERN DISTRICT OF NEW YORK

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MARK I. SOKOLOW, et al., DOC #:

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Plaintiffs, "
-against-
ORDER
PALESTINE LIBERATION ORGANIZATION __: 04 Civ. 397 (GBD)
and PALESTINIAN AUTHORITY,

Defendants.

GEORGE B. DANIELS, United States District Judge:

It is hereby ORDERED that

Final judgment in favor of Plaintiffs against Defendants in the amount of the jury award
of $218.5 million, trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. § 2333(a),
for a total judgment of $655.5 million will be entered within the next sixty (60) days;

Plaintiffs’ request for prejudgment interest is denied; and

Execution of the judgment will be stayed pending appeal to the United States Court of

Appeals for the Second Circuit if Defendants post a bond or deposit cash with the Clerk of the

Court in the amount of $10 million before September 23, 2015, and in the amount of $1 million

every thirty (30) days thereafter.

The Clerk of the Court is instructed to close the motion at ECF No. 897.

Dated: August 24, 2015
New York, New York

SOLQRDERED:
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GEDRGEB. DANIELS

United States District Judge

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